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                    EXHIBIT B
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                                         EXHIBIT B
                     SUMMARY OF COMPENSATION BY PROJECT CATEGORY3
                      (MAY 1, 2024 THROUGH AND INCLUDING JULY 31, 2024)

Project Name                                                                    Hours                 Fee Amount
ACCOUNTING                                                                             253.3              $175,526.00
ASSET SALES                                                                          3,602.4            $2,652,956.50
AVOIDANCE ACTIONS                                                                    1,884.6            $1,309,741.50
BUSINESS OPERATIONS                                                                  8,522.3            $6,211,259.50
CASE ADMINISTRATION                                                                    187.5              $186,526.00
CASH MANAGEMENT                                                                      2,800.8            $1,797,195.00
CLAIMS                                                                              16,534.6           $10,711,782.50
COMMUNICATIONS                                                                          28.6               $34,425.00
CONTRACTS                                                                            1,512.5              $957,754.00
COURT AND UST REPORTING                                                                483.0              $317,857.50
COURT HEARINGS                                                                          20.2               $25,472.00
CREDITOR COOPERATION                                                                   368.9              $303,252.50
DISCLOSURE STATEMENT AND PLAN                                                       10,255.3            $7,577,456.00
DUE DILIGENCE                                                                          284.8              $168,985.00
EMPLOYEE MATTERS                                                                       115.7               $91,942.50
FEE APPLICATION                                                                         31.7               $19,772.50
FINANCIAL ANALYSIS                                                                     551.6              $502,906.50
GOVERNMENT AND REGULATORY DATA REQUESTS                                                367.9              $273,900.50
JOINT OFFICIAL LIQUIDATORS                                                             174.7              $161,913.00
LIQUIDATION                                                                             31.6               $23,270.00
LIQUIDATION ANALYSIS                                                                   313.0              $240,595.00
LITIGATION                                                                             283.0              $233,011.00
MOTIONS AND RELATED SUPPORT                                                            594.9              $526,122.50
NON-WORKING TRAVEL (BILLED AT 50%)                                                       3.0                $3,300.00
PLAN DISTRIBUTION                                                                      613.4              $501,757.50
SOLICITATION                                                                         1,079.8              $878,899.00
TAX INITIATIVES                                                                      4,926.5            $4,873,502.00
VENDOR MANAGEMENT                                                                       64.8               $36,475.00
PRIOR PERIOD ADJUSTMENT                                                                                     ($125.00)
GRAND TOTAL                                                                         55,890.4           $40,797,431.00




    3
        The subject matter of certain time entries may be appropriate for more than one project category. In such
        instances, time entries generally have been included in the most appropriate category. Time entries do not
        appear in more than one category.



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